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                                                               petition Page 1 of 9

                                                                                                           FLED IN CLEM'S
                                                                                                            '                OFFICE
                                                                                                                  ANKRUPTCY COURT
Fill in this information to identify your case:                                                                   THERN DISTRICT
                                                                                                                  OF GEORTIA
United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA                                                                                      L       AH 8: 36
Case number (if known)                                                                    7                       ilA S. ALLEN
                                                                                                                               Check if this an
                                                                                                                                   ded filing
                                                                                                                       y



Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.    Debtor's name               AUBYN INVESTMENT, LLC

2.    All other names debtor
      used in the last 8 years
      Include any assumed
      names, trade names and
      doing business as names

3.    Debtor's federal
      Employer Identification     XX-XXXXXXX
      Number (EIN)


4.    Debtor's address            Principal place of business                                      Mailing address, if different from principal place of
                                                                                                   business

                                  7765 Haynes Park Circle                                          5424 Savoy Chase Crossing Drive
                                  Lithonia, GA 30038                                               Lithonia, GA 30038
                                  Number, Street, City, State & ZIP Code                           P.O. Box, Number, Street, City, State & ZIP Code

                                  DeKalb                                                           Location of principal assets, if different from principal
                                  County                                                           place of business

                                                                                                   Number, Street, City, State & ZIP Code


 5.   Debtor's website (URL)


 6.   Type of debtor               •   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   0   Partnership (excluding LLP)
                                   0   Other. Specify:




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Debtor   AUBYN INVESTMENT, LLC                                                                         Case number (if known)
         Name


7.   Describe debtor's business       A. Check one:
                                      O Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                      •   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                      12 Railroad (as defined in 11 U.S.C. § 101(44))
                                      O Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                      O Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                      O Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                      O None of the above

                                      B. Check a// that apply
                                      0 Tax-exempt entity (as described in 26 U.S.C. §501)
                                      O Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                      O Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.qov/four-digit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                   •   Chapter 7

     A debtor who is a "small        O Chapter 9
     business debtor" must check
                                     O Chapter 11. Check all that apply.
     the first sub-box. A debtor as
     defined in § 1182(1) who                         O The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                            $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                       operations, cash-flow statement, and federal income tax return or if any of these documents do not
     "small business debtor") must                         exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                      O The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                           debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                           proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                           balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                              O   A plan is being filed with this petition.
                                                              0   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              O   The debtor is required to file periodic reports (for example, 10K and 100) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntaty Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              O   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                      O Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
                                      •   Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a                          Georgia Northern
     separate list.                               District   District                      When       8/31/15                   Case number   15-66636-mgd
                                                  District                                 When                                 Case number




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Debtor    AUBYN INVESTMENT, LLC                                                                             Case number Of known)
          Name

10. Are any bankruptcy cases                • No
    pending or being filed by a
    business partner or an                  0 Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                             Debtor                                                                  Relationship
                                                        District                                 When                           Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                       •          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                  preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       0          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or             •     No
    have possession of any
                                                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal          0 Yes.
    property that needs
    immediate attention?                               Why does the property need immediate attention? (Check all that apply.)
                                                       0 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard?
                                                       0 It needs to be physically secured or protected from the weather.
                                                       0 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                         livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       0 Other
                                                       Where is the property?
                                                                                       Number, Street, City, State & ZIP Code
                                                       Is the property insured?
                                                       0 No
                                                       0 Yes.      Insurance agency
                                                                   Contact name
                                                                   Phone



          Statistical and administrative information

13. Debtor's estimation of                         Check one:
    available funds
                                                   0 Funds will be available for distribution to unsecured creditors.

                                                   •    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                •     1-49                                           0 1,000-5,000                              0 25,001-50,000
    creditors
                                       0     50-99                                          o 5001-10,000                              o 50,001-100,000
                                       0     100-199                                        0 10,001-25,000                            0 More than100,000
                                       0     200-999


18. Estimated Assets                   •     $0 - $50,000                                   0   $1,000,001 -$10 million                0   $500,000,001 - $1 billion
                                       0     $50,001 -$100,000                              0   $10,000,001 -$50 million               0   $1,000,000,001 -$10 billion
                                       0     $100,001 -$500,000                             0   $50,000,001 -$100 million              0   $10,000,000,001 -$50 billion
                                       0     $500,001 - $1 million                          0   $100,000,001 -$500 million             0   More than $50 billion


16. Estimated liabilities                  • $0 - $50,000                                   0 $1,000,001 -$10 million                  0 $500,000,001 - $1 billion

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Debtor   AUBYN INVESTMENT, LLC                                                        Case number Of known)
         Name

                             0 $50,001 -$100,000                       0 $10,000,001 -$50 million             0 $1,000,000,001 -$10 billion
                             0 $100,001 - $500,000                     0 $50,000,001 - $100 million           0 $10,000,000,001 -$50 billion
                             0 $500,001 - $1 million                   0 $100,000,001 - $500 million          0 More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor   AUBYN INVESTMENT, LLC                                                                     Case number (if known)
         Name


         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on      June 30, 2023
                                                   MM / DD / YYYY


                                          qVt               6:41re—la 4                                   Dave Fairclough
                                  Signature of authoriz    representati e of deb r                        Printed name

                                  Title   Member




18. Signature of attorney     X                                                                            Date June 30, 2023
                                  Signature of attorney for debtor                                              MM / DD / YYYY


                                  Printed name

                                  11     11111010111111116111
                                   Firm name




                                  Number, Street, City, State & ZIP Code


                                  Contact phone      wiffeillWit                  Email address



                                  Bar number and State




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                                               United States Bankruptcy Court
                                                     Northern District of Georgia
 In re   AUBYN INVESTMENT, LLC                                                                  Case No.
                                                                    Debtor(s)                   Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     June 30, 2023                                      ,of
                                                        Dave Fairclough/        mber
                                                        Signer/Title
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                    Clearspring Loan Services
                    18451N. Dallas Parkway
                    Suite 100
                    Dallas, TX 75287



                    Posinelli
                    1201 West Peachtree Street
                    Suite 1100
                    Atlanta, GA 30309



                    Rubin, Lublin, LLC
                    3740 Davinci Court
                    Suite 150
                    Norcross, GA 30092


                    Toorak Capital Partners LLC
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Case Number:23-56237                             Name: AubynInv Chapter: 7 Division: Atlanta

Please submit the following original documents to the Court for filing so that the case will proceed timely. Failure to comply may
result in the dismissal of your case.

If filing bankruptcy without an attorney, please read the information regarding Filing Bankruptcy without an Attorney at:
www.uscourts.gov/services-forms/bankruptcy/filing-without-attorney.

CI Individual - Series 100 Forms                                                         El Non-Individual - Series 200 Forms
Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov.

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                     Petition Deficiencies:
 O Complete List of Creditors (names and addresses of all creditors)                     O Last 4 digits of SSN
 O Pro Se Affidavit (signature must be notarized,                                        0 Address
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                    0 Statistical Estimates
 O Signed Statement of SSN                                                               O Other:

MISSING DOCUMENTS DUE WITHIN 14 DAYS
El Statement of Financial Affairs                                                                        Case filed via:
El Schedules: A/B D E/ F G H (separate household of Debtor 2)                    El Intake Counter by:
El Summary of Assets and Liabilities                                                 O Attorney
M Declaration About Debtor(s) Schedules                                              O Debtor
0 Attorney Disclosure of Compensation                                                 El Other: Dave Fairclough
O Petition Preparer's Notice, Declaration and Signature (Form 119)               0 Mailed by:
O Disclosure of Compensation of Petition Preparer (Form 2800)                       E Attorney
O Chapter 13 Current Monthly Income                                                 O Debtor
O Chapter 7 Current Monthly Income                                                  O Other:
O Chapter 11 Current Monthly Income
O Certificate of Credit Counseling (Individuals only)                            0 Email [Pursuant to Amended and Restated
O Pay Advices (Individuals only) (2 Months)                                      General Order 45-2021, this document was
O Chapter 13 Plan, complete with signatures (local form)                         received for filing via email.]
O Corporate Resolution (Non-Individual Ch. 7 & 11)
MISSING DOCUMENTS DUE WITHIN 30 DAYS
                                                                                               History of Case Association
                                                                                 Prior cases within 2 years:
O Statement of Intent — Ch.7 (Individuals only)
Ch.11 Business
O 20 Largest Unsecured Creditors                                                 Signature:
O List of Equity Security Holders                                                Acknowledgment of receint of Deficiency Notice
O Small Business - Balance Sheet                                                                    JM
O Small Business - Statement of Operations
O Small Business - Cash Flow Statement
O Small Business - Federal Tax Returns

FILING FEE INFORMATION
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
      El Paid $
       CI Pending Pay.Gov, Paid $
          IFP filed (Ch.7 Individuals Only)
       LI 2g-Order Granting El 3g-Order Granting 10-day (initial payment of $ 78                            due within 10 days)
       El 2d-Order Denying with filing fee of $  due within 10 days
       El No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                             You may mail documents and filing fee payments (no personal checks or cash accepted) to the address below.
                        All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                                  UNITED STATES BANKRUPTCY COURT
                                                      75 Ted Turner Drive, SW, Room 1340
                                                               Atlanta, Georgia 30303
                                                                     404-215-1000
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Case Number:23-56237                           Name: AubynInv Chapter: 7 Division: Atlanta

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LI Individual - Series 100 Forms                                                        CZ Non-Individual - Series 200 Forms
Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov.

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 El Complete List of Creditors (names and addresses of all creditors)                   LI Last 4 digits of SSN
 El Pro Se Affidavit (signature must be notarized,                                      El Address
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                   O Statistical Estimates
 0 Signed Statement of SSN                                                              O Other:

MISSING DOCUMENTS DUE WITHIN 14 DAYS
M Statement of Financial Affairs                                                                         Case filed via:
M Schedules: A/B D E/ F G H (separate household of Debtor 2)                    El Intake Counter by:
M Summary of Assets and Liabilities                                                 0 Attorney
O Declaration About Debtor(s) Schedules                                                Debtor
O Attorney Disclosure of Compensation                                                  Otherr1)0WE-1-41e4t16
O Petition Preparer's Notice, Declaration and Signature (Form 119)              0 Mailed by:
O Disclosure of Compensation of Petition Preparer (Form 2800)                      1=1 Attorney
171 Chapter 13 Current Monthly Income                                              El Debtor
O Chapter 7 Current Monthly Income                                                 0 Other:
O Chapter 11 Current Monthly Income
O Certificate of Credit Counseling (Individuals only)                           1=1 Email [Pursuantto Amended and Restated
O Pay Advices (Individuals only) (2 Months)                                     General Order 45-2021, this document was
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                                                                                Prior cases within 2 years:
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Ch.11 Business
LI 20 Largest Unsecured Creditors
O List of Equity Security Holders                                               Acknowledgment of receint of Deficiency Notic         91
O Small Business - Balance Sheet                                                                   JM
LI Small Business - Statement of Operations
CI Small Business - Cash Flow Statement
El Small Business - Federal Tax Returns

FILING FEE INFORMATION
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
      LI Paid $
       0 Pending Pay.Gov, Paid $
       LI IFP filed (Ch.7 Individuals Only)
       O 2g-Order Granting         LI 3g-Order Granting 10-day (initial payment of $ 78                     due within 10 days)
       LI 2d-Order Denying with filing fee of $                due within 10 days
       N No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                              You may mail documents and filing fee payments (no personal checks or cash accepted) to the address below.
                         All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                                   UNITED STATES BANKRUPTCY COURT
                                                     75 Ted Turner Drive, SW, Room 1340
                                                            Atlanta, Georgia 30303
                                                                404-215-1000
